                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF WISCONSIN


UNITED STATES OF AMERICA,              )
                                       )                Case No. 18-cv-867
         Plaintiff,                    )
                                       )
         v.                            )
                                       )
MICHAEL KUSEK, JILL KUSEK,             )
ONEIDA COUNTY,                         )
WISCONSIN DEPARTMENT OF REVENUE, )
WISCONSIN PUBLIC SERVICE,              )
RHINELANDER DENTAL,                     )
SACRED HEART MARYS HOSPITAL I, and )
MINISTRY MEDICAL GROUP                 )
NORTHERN.                              )
                                       )
        Defendants.                    )
_______________________________________)


                             UNITED STATES' COMPLAINT

      Plaintiff, the United States of America, for its complaint alleges as follows:

      1.     This is a civil action in which the United States seeks to:

             a. Reduce to judgment assessments made against Michael Kusek, d/b/a Island

                 Bay Printing, for unpaid unemployment tax liabilities;

             b. Reduce to judgment assessments made against Michael Kusek, d/b/a Island

                 Bay Printing, for unpaid employment tax liabilities;

             c. Enforce federal tax liens against the real property described herein and located

                 in Oneida County, Wisconsin;

             d. Obtain an order authorizing the sale of the subject property; and

             e. Have the proceeds from the sale distributed in the amounts and order of

                 priority determined by the Court.
                                            Authorization

        2.       This action has been authorized by the Chief Counsel of the Internal Revenue

Service, a delegate of the Secretary of the Treasury, and is brought at the direction of a delegate

of the United States Attorney General pursuant to 26 U.S.C. §§ 7401 and 7403.

                                      Jurisdiction and Venue

        3.       The Court has jurisdiction over this action pursuant to 28 U.S.C. §§ 1340 and

1345 and 26 U.S.C. §§ 7402 and 7403.

        4.       Venue is proper in this Court pursuant to 28 U.S.C. §§ 1391 and 1396.

                                               Parties

        5.       Plaintiff is the United States of America.

        6.       Defendant Michael Kusek is located in Oneida County, Wisconsin, within this

judicial district.

        7.       Defendant Jill Kusek is located in Oneida County, Wisconsin, within this judicial

district, and is named as a defendant to Count III pursuant to 26 U.S.C. § 7403(b) because she

may claim an interest in the property at issue. Jill Kusek is the wife of defendant Michael Kusek.

        8.       Oneida County is a County in the State of Wisconsin. It is named as a defendant

pursuant to Count III pursuant to 26 U.S.C. § 7403(b) because it may claim an interest in the

property at issue.

        9.       The Wisconsin Department of Revenue is located in Madison, Wisconsin. It is

named as defendant to Count III pursuant to 26 U.S.C. § 7403(b) because it may claim an

interest in the property at issue.




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        10.     Wisconsin Public Service is located in Green Bay, Wisconsin. It is named as

defendant to Count III pursuant to 26 U.S.C. § 7403(b) because it may claim an interest in the

property at issue.

        11.     Rhinelander Dental LLC is located in Rhinelander, Wisconsin. It is named as

defendant to Count III pursuant to 26 U.S.C. § 7403(b) because it may claim an interest in the

property at issue.

        12.     Sacred Heart St. Mary’s Hospital is located in Rhinelander, Wisconsin. It is

named as defendant to Count III pursuant to 26 U.S.C. § 7403(b) because it may claim an

interest in the property at issue.

        13.     Defendant Ministry Medical Group Northern is located in Rhinelander,

Wisconsin. It is named as defendant to Count III pursuant to 26 U.S.C. § 7403(b) because it may

claim an interest in the property at issue.


    COUNT I: REDUCE TO JUDGMENT UNEMPLOYMENT TAX ASSESSMENTS
                        AGAINST MICHAEL KUSK

        14.     The United States incorporates by reference paragraphs 1-6 of this complaint.

        15.     Upon information and belief, at all times relevant to this litigation, Michael Kusek

conducted business as the sole proprietor of Island Bay Printing, a commercial printing business,

in Rhinelander, Wisconsin, within this judicial district.

        16.     “Michael D. Kusek dba Island Bay Printing” has the EIN ending in 5013

(hereinafter “Island Bay”).

        17.     Michael Kusek has outstanding federal unemployment tax liabilities related to his

business, Island Bay.




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        18.     For tax years 2003, 2004, 2005, 2006, 2007, 2008, 2009, 2010, 2011, and 2012,

Michael Kusek filed federal unemployment tax returns (Forms 940) and failed to pay all of the

taxes he reported he owed.

        19.     For the periods identified in Table 1 below, Michael Kusek filed unemployment

(Form 940) tax returns with the IRS reporting unemployment taxes owed. For the periods

described below in Table 1, Michael Kusek signed the Form 940 submitted to the Internal

Revenue Service.

        20.     For the tax periods, and in the amounts, specified below in Table 1, a delegate of

the Secretary of the Treasury made assessments against Michael Kusek for the Form 940 taxes

that he reported he owed, plus interest, penalties, and other statutory additions:

                                  Table 1: Form 940 Tax Liabilities

                                                                               Total Balance
                           Date of        Tax      Interest     Penalties        Due as of
         Tax Year        Assessment Assessed       Assessed      Assessed         9/14/18
        12/31/2005        8/6/2012     $179.30      $90.33        $85.16          $438.69
        12/31/2006        8/6/2012     $169.40      $63.92        $80.46          $387.99
        12/31/2007        8/6/2012     $185.78      $47.49        $88.24          $397.57
        12/31/2008        8/6/2012     $168.00      $28.83        $73.92          $341.53
        12/31/2009        8/6/2012     $168.00      $19.28        $63.84          $328.75
        12/31/2010        8/6/2012     $112.00       $7.10        $35.84          $211.44
        12/31/2011        8/6/2012     $154.00       $2.93        $40.04           $61.12
                                   Total Balance Due as of Sept. 14, 2018:       $2,167.09

        21.     Notices of the assessments referred to in paragraph 20 and Table 1, and demands

for payment, were given to Michael Kusek on or about the date the assessments were made.

        22.     Despite notices of assessments and demands for payment, Michael Kusek has

failed to pay over the liabilities set forth in paragraph 20 and Table 1. Interest and statutory

additions thereafter provided for by law have accrued on the assessed amounts and will continue

to accrue until the liabilities are paid in full.


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       23.       As a result, Michael Kusek is indebted to the United States for unpaid

unemployment taxes, penalties, and interest totaling $2,167.09 as of September 14, 2018, plus

interest and other statutory additions as allowed by law.

       WHEREFORE, the United States requests that the Court:

       A. Enter judgment on Count I of this complaint in favor of the United States and against

              Michael Kusek for $2,167.09 as of September 14, 2018, with interest and statutory

              additions that have accrued and will continue to accrue according to law; and

       B. Grant the United States its costs incurred in the commencement and prosecution of

              this action and such other and further relief as the Court deems proper.

     COUNT II: REDUCE TO JUDGMENT EMPLOYMENT TAX ASSESSMENTS
                       AGAINST MICHAEL KUSEK

       24.       The United States incorporates by reference paragraphs 1-6 and 15-16 of this

complaint.

       25.       Michael Kusek has outstanding employment tax liabilities related to his business,

Island Bay.

       26.       For tax periods in 2003, 2004, 2005, 2006, 2007, 2008, 2009, 2010, 2011, and

2012, Michael Kusek filed employment tax returns (Forms 941) and failed to pay all of the taxes

he reported he owed.

       27.       For the periods identified in Table 2 below, Michael Kusek filed federal

employment (Form 941) tax returns with the IRS reporting employment taxes owed. For the

periods described in Table 2, Michael Kusek signed the Form 941 submitted to the Internal

Revenue Service.




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       28.     For the tax periods, and in the amounts, specified below in Table 2, a delegate of

the Secretary of the Treasury made assessments against Michael Kusek for the Form 941 taxes

that he reported he owed, plus interest, penalties, and other statutory additions:

                                  Table 2: Form 941 Liabilities


                                                                                Total Balance
          Tax Period      Date of          Tax          Interest    Penalties     Due as of
           Ending        Assessment      Assessed       Assessed    Assessed       9/14/18
          9/30/2003       9/17/2012     $6,537.23       $4,748.44   $3,758.03    $18,032.01
         12/31/2003       9/17/2012     $6,628.64       $4,685.17   $3,811.46    $19,045.50
          3/31/2004       8/13/2012     $6,565.42       $4,470.17   $3,775.11    $18,707.59
          6/30/2004       8/13/2012     $6,618.75       $4,359.46   $3,805.79    $18,677.87
          9/30/2004       8/13/2012     $6,784.98       $4,330.41   $3,901.35    $18,975.74
         12/31/2004       8/13/2012     $6,797.88       $1,608.32   $1,501.05    $7,225.75
          3/31/2005       8/13/2012     $5,307.14       $2,119.60   $2,061.72    $9,819.27
          6/30/2005       8/20/2012     $5,969.51       $3,372.32   $3,432.47    $16,145.03
          9/30/2005       8/13/2012     $6,401.10       $3,428.12   $3,680.63    $17,089.87
         12/31/2005       8/6/2012      $6,011.31       $3,028.34   $3,446.49    $6,676.68
          3/31/2006       8/6/2012      $5,918.17       $2,808.29   $3,402.94    $15,362.98
          6/30/2006       8/6/2012      $5,675.34       $2,516.33   $3,263.31    $14,514.06
          9/30/2006       8/6/2012      $5,329.65       $2,185.58   $3,064.54    $13,410.53
         12/31/2006       8/6/2012      $5,329.65       $2,011.64   $3,064.54    $13,195.49
          3/31/2007       8/6/2012      $4,265.84       $1,478.06   $2,452.85    $10,398.35
          6/30/2007       8/6/2012      $3,800.37       $1,197.58   $2,185.20    $9,116.32
         12/31/2007       8/13/2012     $3,221.37       $256.63     $475.46      $2,141.68
          3/31/2008       8/6/2012       $398.16        $256.63     $475.46      $7,799.99
          6/30/2008       8/6/2012      $3,336.32       $703.57     $1,901.70    $7,571.60
          9/30/2008       8/6/2012      $3,384.49       $648.96     $1,878.39    $7,596.12
         12/31/2008       8/6/2012      $3,436.84       $590.14     $1,855.89    $7,623.73
          3/31/2009       8/13/2012     $2,968.15       $465.15     $1,558.27    $6,521.27
          6/30/2009       8/6/2012      $2,981.29       $426.53     $1,520.46    $6,495.66
          9/30/2009       8/13/2012     $2,992.35       $386.41     $1,481.21    $6,464.20
         12/31/2009       8/6/2012      $2,951.26       $338.75     $1,416.61    $6,322.50
          3/31/2010       8/6/2012      $2,313.78       $235.49     $844.53      $4,487.67
          6/30/2010       8/6/2012      $2,506.60       $221.75     $877.30      $4,816.93
          9/30/2010       8/6/2012      $2,506.59       $188.71     $1,090.36    $5,237.04
         12/31/2010       8/6/2012      $2,699.41       $170.98     $1,133.75    $5,596.30
          3/31/2011       8/6/2012      $2,272.12       $120.19     $693.00      $4,256.97



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           6/30/2011         8/6/2012      $2,472.73       $99.11      $717.09       $4,590.18
           9/30/2011         8/6/2012      $2,663.01       $75.78      $732.33       $4,901.44
          12/31/2011         8/6/2012      $2,472.80       $47.03      $642.93       $4,519.08
           3/31/2012         8/6/2012      $2,472.80       $21.74      $272.01       $4,071.57
           6/30/2012         8/27/2012     $2,472.79       $5.48        $12.36       $3,841.33
                                          Total Balance Due as of Sept. 14, 2018:   $331,248.30

        29.        Notices of the assessments referred to in paragraph 28 and Table 2, and demands

for payment, were given to Michael Kusek on or about the date the assessments were made.

        30.        Despite notices of assessments and demands for payment, Michael Kusek has

failed to pay over the liabilities set forth in paragraph 28 and Table 2. Interest and statutory

additions thereafter provided for by law have accrued on the assessed amounts and will continue

to accrue until the liabilities are paid in full.

        31.        As a result, Michael Kusek is indebted to the United States for unpaid

employment taxes, penalties, and interest totaling $331,248.30 as of September 14, 2018, plus

interest and other statutory additions as allowed by law.

        WHEREFORE, the United States requests that the Court:

        A. Enter judgment on Count II of this complaint in favor of the United States and

              against Michael Kusek for $331,248.30 as of September 14, 2018, with interest and

              statutory additions that have accrued and will continue to accrue according to law;

              and

        B. Grant the United States its costs incurred in the commencement and prosecution of

              this action and such other and further relief as the Court deems proper.

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      COUNT III: ENFORCE FEDERAL TAX LIENS AGAINST THE PROPERTY


       32.     The United States incorporates by reference paragraphs 1-13 of this complaint.

                                    The Real Property at Issue

       33.     By warranty deed dated March 15, 1995 and recorded at Document No. 441799

with Oneida County, Michael and Jill Kusek acquired the real property at 4085 County Hwy W,

Rhinelander, Wisconsin in Oneida County, Wisconsin (hereinafter, the “Property”), which is

legally described as:




                                    Federal Tax Liens at Issue

       34.     By reason of the assessments described in Tables 1-2 and pursuant to 26 U.S.C.

§§ 6321 and 6322, federal tax liens arose as of the dates of assessment in the amounts of the

assessments plus interest and statutory additions accruing thereon under law. These tax liens

attached to all property and rights to property, including beneficial or equitable interests, then

owned or thereafter acquired, of Michael Kusek.

       35.     The IRS filed notices of these federal tax liens with the Oneida County Register

of Deeds against Michael Kusek (Table 3) as follows:

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 Table 3: Notice of Federal Tax Liens

Tax Period   Tax Type    Date Notice
                            Filed:
 9/30/2003     941        10/9/2012
12/31/2003     941        10/9/2012
 3/31/2004     941        9/17/2012
 6/30/2004     941        9/17/2012
 9/30/2004     941        9/17/2012
12/31/2004     941        9/17/2012
 3/31/2005     941        9/17/2012
 6/30/2005     941        9/17/2012
 9/30/2005     941        9/17/2012
12/31/2005     940        9/17/2012
12/31/2005     941        9/17/2012
 3/31/2006     941        9/17/2012
 6/30/2006     941        9/17/2012
 9/30/2006     941        9/17/2012
12/31/2006     940        9/17/2012
12/31/2006     941        9/17/2012
 3/31/2007     941        9/17/2012
 6/30/2007     941        9/17/2012
12/31/2007     940        9/17/2012
12/31/2007     941        9/17/2012
 3/31/2008     941        9/17/2012
 6/30/2008     941        9/17/2012
 9/30/2008     941        9/17/2012
12/31/2008     940        9/17/2012
12/31/2008     941        9/17/2012
 3/31/2009     941        9/17/2012
 6/30/2009     941        9/17/2012
 9/30/2009     941        9/17/2012
12/31/2009     940        9/17/2012
12/31/2009     941        9/17/2012
 3/31/2010     941        9/17/2012
 6/30/2010     941        9/17/2012
 9/30/2010     941        9/17/2012
12/31/2010     940        9/17/2012
12/31/2010     941        9/17/2012
 3/31/2011     941        9/17/2012


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                             6/30/2011        941           9/17/2012
                             9/30/2011        941           9/17/2012
                            12/31/2011        940           9/17/2012
                            12/31/2011        941           9/17/2012
                             3/31/2012        941           9/17/2012
                             6/30/2012        941           9/21/2012

       36.      The federal tax liens (described in paragraph 35) attached to, and should be

enforced against, the Property, and the Property should be sold pursuant to Court order.

       37.      Kusek’s employment and unemployment tax liabilities (described above in

paragraphs 20 and 28) were incurred during his marriage and incurred in the interest of his

marriage and/or family. For these reasons, 100% of the proceeds from the sale of the Property

will be available to satisfy Kusek’s obligations to the United States. See W.S.A. § 766.55

(obligations incurred by spouse during marriage are incurred in interest of marriage or family

and obligations can be satisfied from marital property).

       WHEREFORE, the United States requests that the Court enter judgment on Count III of

the complaint as follows:

       A. Grant judgment in favor of the United States and declare that the United States has

             valid and subsisting federal tax liens that attach to all property and rights to property

             of Michael Kusek, including the Property;

       B. Order that the federal tax liens be enforced against the Property and that the Property

             be sold;

       C. Order that any defendant claiming an interest in the proceedings from the sale of the

             Property affirmatively demonstrate that interest;




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      D. Order that the proceeds from the sale of the Property be paid to the United States, or

           that a portion of the proceeds be paid to the United States if there is a lien found to

           be superior to the United States’ tax liens; and

      E. Grant the United States such other and further relief as the Court deems just and

           proper, including its costs incurred in this suit.




Dated: October 23, 2018                               RICHARD ZUCKERMAN
                                                      Principal Deputy Assistant Attorney General

                                                      /s/ Gretchen Ellen Nygaard
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